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                                                                   5      Attorneys for Plaintiff Richard M. Pachulski, Chapter 11
                                                                          Trustee for the Bankruptcy Estate of Layfield & Barrett, APC
                                                                   6

                                                                   7                                     UNITED STATES BANKRUPTCY COURT
                                                                   8                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                   9                                               LOS ANGELES DIVISION
                                                                  10      In re:                                                 Case No.: 2:18-bk-15829-NB
                                                                  11      PHILIP JAMES LAYFIELD,                                 Chapter 7
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                          Debtor.
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14      RICHARD M. PACHULSKI, Chapter 11                       Adv. Case No.: 2:19-ap-01071-NB
                                                                          Trustee for the bankruptcy estate of Layfield &
                                                                  15      Barrett, APC,                                          TRUSTEE’S STATUS REPORT

                                                                  16                                  Plaintiff,                 Status Conference Date: January 18, 2022
                                                                                                                                 Time: 11:00 a.m.
                                                                  17      vs.                                                    Place:         Courtroom 1545
                                                                                                                                          255 E. Temple Street
                                                                  18      PHILIP JAMES LAYFIELD, an individual,                           Los Angeles, CA 90012
                                                                                                                                         Judge: Honorable Neil W. Bason
                                                                  19                                  Defendant.

                                                                  20

                                                                  21
                                                                                   The criminal trial of Philip Layfield (“Layfield”) resulted in Layfield’s conviction on all
                                                                  22
                                                                         counts. While sentencing was initially set for November 8, 2021, it has since been continued to
                                                                  23
                                                                         January 27, 2022. Trustee requests that unless and until Layfield’s sentencing has taken place, this
                                                                  24
                                                                         adversary proceeding should be held in abeyance as, after the Trustee has a chance to evaluate
                                                                  25
                                                                         whether it continues to make sense for the estate to pursue this adversary proceeding given such
                                                                  26
                                                                         sentencing, the Trustee may determine that this adversary proceeding should be dismissed.
                                                                  27
                                                                                   A further continuance of this Status Conference for approximately four months is therefore
                                                                  28
                                                                         requested, by which time the parties should be in a position, barring any continuance of the current

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                                                                   1     sentencing date, to finally advise this Court of whether the Trustee intends to continue prosecuting

                                                                   2     this matter.

                                                                   3      Dated:     December 30, 2021                 Respectfully submitted,
                                                                   4
                                                                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   5

                                                                   6                                                   By      /s/ James K.T. Hunter
                                                                   7                                                           James K. T. Hunter

                                                                   8                                                           Attorneys for Plaintiff,
                                                                                                                               Richard M. Pachulski, Chapter 11 Trustee for
                                                                   9                                                           the Bankruptcy Estate of Layfield & Barrett,
                                                                                                                               APC
                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067


A true and correct copy of the foregoing document entitled (specify): TRUSTEE’S STATUS REPORT in support
thereof will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
December 30, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                          Service information continued on attached page


2. SERVED BY UNITED STATES MAIL:
On (date) _________, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) December 30, 2021, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Philip Layfield
Email: phil@maximum.global

                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 December 30, 2021                    Mary de Leon                                            /s/ Mary de Leon
 Date                         Printed Name                                                    Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Mailing Information for Case 2:19-bk-01071-NB

       Wesley H Avery (TR) wes@averytrustee.com,
        C117@ecfcbis.com;lucy@averytrustee.com;alexandria@averytrustee.com
       James KT Hunter jhunter@pszjlaw.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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